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                            7   Attorneys for Defendant URBAN
                                OUTFITTERS, INC., a Pennsylvania
                            8   corporation erroneously sued as
                                URBAN OUTFITTERS.COM LP, a                                           JS-6
                            9   Pennsylvania Limited Partnership and
                                URBAN OUTFITTERS HOLDINGS,
                           10   LLC, a Pennsylvania Limited Liability
                                Company
                           11

                           12                           UNITED STATES DISTRICT COURT
                           13                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                           14

                           15   SILLAGE, LLC, a California                CASE NO.: 8:14-cv-00686
                                Limited Liability Company,
                           16                                             STIPULATED ORDER OF
                                                 Plaintiff,               DISMISSAL
                           17
                                                 vs.
                           18
                                URBAN OUTFITTERS.COM LP, a
                           19   Pennsylvania Limited Partnership;         Complaint Filed: May 1, 2014
                                URBAN OUTFITTERS
                           20   HOLDINGS, LLC, a Pennsylvania
                                Limited Liability Company; and,
                           21   HENRI BENDEL, INC., a Delaware
                                Corporation.
                           22
                                                 Defendants.
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        LAWYERS
    S A N T A M O N IC A
                                                               STIPULATED ORDER OF DISMISSAL
                                DOCSSM/3011899v1/101734-0099
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                            1          Pursuant to the Settlement Agreement between Plaintiff SILLAGE, LLC
                            2   (“Sillage”) and Defendant URBAN OUTFITTERS, INC., a Pennsylvania
                            3   corporation erroneously sued as URBAN OUTFITTERS.COM LP, a Pennsylvania
                            4   Limited Partnership and URBAN OUTFITTERS HOLDINGS, LLC, a
                            5   Pennsylvania Limited Liability Company (“Urban Outfitters”), the Court ORDERS
                            6   as follows:
                            7          1.      The Court has jurisdiction over the parties and the subject matter at
                            8   issue in this action.
                            9          2.      Sillage brought claims for patent infringement under 35 U.S.C. § 271,
                           10   trademark infringement under 15 U.S.C. § 1114, trade dress infringement under
                           11   15 U.S.C. § 1125(a), and unfair competition under Cal. Bus. & Prof. Code
                           12   § 17200, alleging that Urban Outfitters’s marketing and sale of certain Alice
                           13   & Peter fragrance products caused Sillage harm. Urban Outfitters denied and
                           14   continues to deny each and every allegation asserted in the action and denied and
                           15   continues to deny any wrongdoing whatsoever.
                           16          3.      Urban Outfitters asserted counterclaims against Sillage seeking a
                           17   declaration of non-infringement and invalidity of the patents-in-suit, a declaration
                           18   of non-infringement and invalidity of the subject mark, and a declaration of non-
                           19   infringement of trade dress. Sillage denied and continues to deny each of these
                           20   allegations.
                           21          4.      Sillage and Urban Outfitters have entered into a written Settlement
                           22   Agreement, the terms of which result in a final resolution of the parties’ dispute.
                           23          5.      Pursuant to Federal Rule of Civil Procedure 41(a)(2), Sillage’s claims
                           24   against Urban Outfitters are hereby dismissed with prejudice and without costs to
                           25   either party, and Urban Outfitters’s counterclaims against Sillage are likewise
                           26   dismissed with prejudice and without costs to either party. The Court shall retain
                           27   ///
                           28   ///
S TRADLING Y OCCA                                                            -1-
C ARLSON & R AUTH
        LAWYERS
    S A N T A M O N IC A                             [PROPOSED] STIPULATED ORDER OF DISMISSAL
                                DOCSSM/3011899v1/101734-0099
              Case 8:14-cv-00686-MWF-RNB Document 49 Filed 11/12/14 Page 3 of 3 Page ID #:313



                            1   jurisdiction to enforce the terms of the Settlement Agreement entered into between
                            2   the parties and this Order of Dismissal.
                            3

                            4   IT IS SO ORDERED.
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                            7   Dated:     November 12, 2014
                            8                                              Honorable Michael W. Fitzgerald
                                                                           United States District Judge
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S TRADLING Y OCCA                                                           -2-
C ARLSON & R AUTH
        LAWYERS
    S A N T A M O N IC A                             [PROPOSED] STIPULATED ORDER OF DISMISSAL
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